Case 1:14-cv-01611-LO-JFA Document 1004 Filed 08/15/18 Page 1 of 5 PageID# 25805




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION
  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,

                        Plaintiffs,
                                                    Case No. 1:14-cv-01611-LO-JFA
                 v.

  COX COMMUNICATIONS, INC., et al.,

                        Defendants.


  MEMORANDUM IN SUPPORT OF JOINT MOTION TO RECEIVE THE JURY LIST
                      PRIOR TO VOIR DIRE

        The parties jointly move for entry of an order allowing the parties to receive the jury list

 on August 22, 2018. The parties have conferred and agreed that having the jury list prior to voir

 dire would allow for the necessary examination of prospective jurors pursuant to Rule 47 of the

 Federal Rules of Civil Procedure. The trial begins on August 28, 2018 and thus allowing the

 parties access to the jury list on Wednesday, August 22, 2018 would allow the parties three

 business-days to examine the prospective jurors.

        Accordingly, the hearing on the motion is waived.


 Dated: August 15, 2018                               Respectfully submitted,

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                                         -2-
Case 1:14-cv-01611-LO-JFA Document 1004 Filed 08/15/18 Page 3 of 5 PageID# 25807




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                                                -3-
Case 1:14-cv-01611-LO-JFA Document 1004 Filed 08/15/18 Page 4 of 5 PageID# 25808



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                                      -4-
Case 1:14-cv-01611-LO-JFA Document 1004 Filed 08/15/18 Page 5 of 5 PageID# 25809



                                CERTIFICATE OF SERVICE

        I certify that on August 15, 2018, a copy of the foregoing JOINT MOTION TO RECEIVE

 THE JURY LIST PRIOR TO VOIR DIRE was filed electronically with the Clerk of Court using

 the ECF system which will send notifications to ECF participants.

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